USCA4 Appeal: 25-1013     Doc: 20             Filed: 03/20/2025          Pg: 1 of 34

                                                  NO. 25-1013

                        United States Court of Appeals
                                                       for the

                                          Fourth Circuit

                                              JESSICA WICKETT,

                                                                                    Plaintiff-Appellee,

                                                         – v. –

              VENTURE GLOBAL LNG, INC., now known as Venture Global Holdings, Inc.,

                                                                                 Defendant-Appellant.


                                     _____________________________
                        ON APPEAL FROM THE UNITED STATES DISTRICT COURT
                              FOR THE EASTERN DISTRICT OF VIRGINIA
                                      ALEXANDRIA DIVISION


                             BRIEF FOR PLAINTIFF-APPELLEE

                                                                  GERRY SILVER
                                                                  SULLIVAN & WORCESTER LLP
                                                                  1251 Avenue of the Americas,
                                                                    19th Floor
                                                                  New York, New York 10020
                                                                  (212) 660-3096

                                                                  MICHAEL T. DYSON
                                                                  SULLIVAN & WORCESTER LLP
                                                                  1666 K Street, NW
                                                                  Washington, DC 20006
                                                                  (202) 775-1217

                                                                  Attorneys for Plaintiff-Appellee



                                    (800) 4-APPEAL • (379659)
USCA4 Appeal: 25-1013            Doc: 20              Filed: 03/20/2025             Pg: 2 of 34




                                                TABLE OF CONTENTS

                                                                                                                           Page
        TABLE OF AUTHORITIES ................................................................................... iii

        INTRODUCTION .....................................................................................................1

        STATEMENT OF THE ISSUES...............................................................................5
        STATEMENT OF THE CASE ..................................................................................5

        I.       FACTUAL BACKGROUND..........................................................................5

                 A.       The Company Awards Wickett The 2014 Options And The
                          2016 Options .........................................................................................5

                 B.       In June 2017, The Parties Sign the RCA...............................................6

                 C.       The Company Refuses To Allow Wickett To Exercise Her
                          Options And Fires Her In Retaliation For Complaining About
                          Not Receiving Her Shares .....................................................................7

        II.      PROCEDURAL BACKGROUND .................................................................8

                 A.       Wickett Commences This Action Asserting Claims Arising Out
                          Of The Company’s Conduct Relating to the 2014 and 2016
                          Option Agreements................................................................................8

                 B.       Judge Brinkema Correctly Denies The Motion to Compel
                          Arbitration ...........................................................................................10
        SUMMARY OF ARGUMENT ...............................................................................11

        ARGUMENT ...........................................................................................................13

        I.       JUDGE BRINKEMA CORRECTLY RULED THAT THE RCA
                 ARBITRATION PROVISION DOES NOT COVER THIS DISPUTE .......13

        II.      JUDGE BRINKEMA CORRECTLY RULED THAT THE RCA
                 AND ITS ARBITRATION PROVISION ARE UNENFORCEABLE
                 FOR A LACK OF CONSIDERATION ........................................................19
                 A.       Legal Standards ...................................................................................19


                                                                    i
USCA4 Appeal: 25-1013           Doc: 20              Filed: 03/20/2025           Pg: 3 of 34




                 B.       The RCA Is Unenforceable For A Lack Of Consideration .................20

        III.     IN THE ALTERNATIVE, THE DISRICT COURT ACTION
                 SHOULD BE STAYED PENDING ARBITRATION .................................26

        CONCLUSION ........................................................................................................27




                                                                 ii
USCA4 Appeal: 25-1013           Doc: 20              Filed: 03/20/2025           Pg: 4 of 34




                                            TABLE OF AUTHORITIES

                                                                                                                     fPage
                                                            CASES

        Adkins v. Labor Ready, Inc.,
           303 F.3d 496 (4th Cir. 2002) .................................................................18, 19, 23
        Bryce v. SP Plus Corp.,
           741 F.Supp.3d 385 (E.D. Va. 2024) .................................................................. 23

        Chemours Company v. DowDuPont Inc.,
           2020 WL 1527783 (Del. Ch. March 30, 2020) ................................................. 21

        Cigna Health and Life Insurance Company v. Audax Health Solutions, Inc.,
           107 A.3d 1082 (Del. Ch. Ct. 2014) .................................................19, 20, 23, 24
        Clay v. Chesapeake & Potomac Telephone Co.,
           184 F.2d 995 (D.C. 1950) .................................................................................. 20

        Coinbase, Inc. v. Suski,
           602 U.S. 143 (2024) ....................................................................4, 12, 13, 14, 15

        Donofrio v. Peninsula Healthcare Servs., LLC,
           2022 WL 1054969 (Del. Super. Ct. April 8, 2022) ........................................... 23

        Evraz Stratcor, Inc. v. Kennametal Inc.,
           2016 WL 11483716 (W.D. Ark. March 8, 2016) .............................................. 17
        First Options of Chicago, Inc. v. Kaplan,
            514 U.S. 938 (1995) .......................................................................................... 18

        Gibbs v. Haynes Investments, LLC,
           967 F.3d 332 (4th Cir. 2020) ......................................................................... 4, 13

        Granite Rock Co. v. Int’l Bhd. Of Teamsters,
           561 U.S. 287 (2010) .......................................................................................... 18

        James J. Gory Mech. Contracting, Inc. v. BPG Residential P’rs V, LLC,
           2011 WL 6935279 (Del. Ch. Dec. 30, 2011) .................................................... 19
        Johnson v. Continental Finance Company, LLC,
           2025 WL 758026 (4th Cir. March 11, 2025) ................................................... 14

                                                                 iii
USCA4 Appeal: 25-1013           Doc: 20              Filed: 03/20/2025           Pg: 5 of 34




        Kauffman v. Int’l Bhd. Of Teamsters,
           950 A.2d 44 (D.C. 2008) ................................................................................... 25
        MacDonald v. CashCall, Inc.,
           883 F.3d 220 (3d Cir. 2018) ........................................................................ 13-14

        Matter of ITT Avis, Inc. v. Tuttle,
           27 N.Y.2d 571 (1970) ........................................................................................ 17

        Modern Perfections, LLC v. Bank of America, N.A.,
           126 F.4th 235 (4th Cir. 2025) ......................................................................14, 15

        Moscowitz v. Theory Ent. LLC,
           2020 WL 6304899 (Del Ch. Oct. 28, 2020) ...................................................... 21

        Par-Knit Mills, Inc. v. Stockbridge Fabrics Co., Ltd.,
           636 F.2d 51(3rd Cir.1980) ................................................................................. 20
        Paramount Termite Control Co., Inc. v. Rector,
           238 Va. 171 (1989) ............................................................................................ 24
        Prima Paint Corp. v. Flood & Conklin Mfg. Co.,
           388 U.S. 395 (1967) ....................................................................................14, 18

        Reiver v. Murdoch & Walsh, P.A.,
            625 F. Supp. 998 (D. Del. 1985) ....................................................................... 24
        Rent-A-Center, West, Inc. v. Jackson,
           561 U.S. 63 (2010) ......................................................................................13, 14
        Research & Trading Corp. v. Pfuhl,
           1992 WL 345465 (Del. Ch. Ct. Nov. 18, 1992) ................................................ 24
        Sabatoro Const. Co. v. Formoso Plastics Corp. USA,
           1996 WL 453460 (Del. Super. June 10, 1996).................................................. 20
        Salsbery v. Verizon Wireless (VAW), LLC,
            2014 WL 3876635 (S.D. W.Va. Aug. 7, 2014)................................................. 18

        Sapiro v. VeriSign,
           310 F.Supp.2d 208 (D.D.C. 2004) .................................................................... 23




                                                                 iv
USCA4 Appeal: 25-1013             Doc: 20               Filed: 03/20/2025              Pg: 6 of 34




        Seiden v. Kaneko,
            2015 WL 7289338 (Del. Ch. June 10, 2015) .................................................... 20
        Simply Wireless, Inc. v. T-Mobile U.S., Inc.,
           877 F.3d 522 (4th Cir. 2017) ............................................................................. 15

        Smith v. Spizzirri,
           601 U.S. 472 (2024) .......................................................................................... 26

                                                             STATUTES
        9 U.S.C. § 3 .............................................................................................................. 26

        9 U.S.C. § 7 .............................................................................................................. 26

        9 U.S.C. § 9 .............................................................................................................. 26

                                                  OTHER AUTHORITIES
        3 Williston on Contracts § 7:5 (4th ed.)................................................................... 20
        Restatement (Second) of Contracts § 87 cmt. C (1981) .......................................... 21




                                                                      v
USCA4 Appeal: 25-1013     Doc: 20      Filed: 03/20/2025   Pg: 7 of 34




                                       INTRODUCTION

              Plaintiff-Appellee Jessica Wickett’s claims against Defendant-Appellant

        Venture Global LNG, Inc. (“Venture Global or the “Company”) should be decided

        in a public forum, before a Court, by a jury. Wickett never waived her rights to

        public court proceedings or a jury trial on her claims against the Company for

        violating her rights under stock option agreements; nor did she ever agree to put

        them to private arbitration.

              The agreement the Company points to for an arbitration clause—which came

        long after the stock option agreements that form the basis of Wickett’s claims—is

        unenforceable for lack of consideration. Moreover, by its terms, that arbitration

        clause does not cover Wickett’s claims in this case. The District Court therefore

        correctly blocked the Company’s attempt to force Wickett into private arbitration.

        Its denial of the Company’s motion to compel arbitration should be affirmed, and

        Wickett’s claims should proceed in the Court where she brought them.

              The stock option agreements that form the basis of Wickett’s claims date back

        to 2014 and 2016, and do not have arbitration clauses. Wickett joined the Company

        as its fourth employee in the Fall of 2014, when it was a mere start-up, and was

        awarded 50 ten-year Options at that time (the “2014 Options”; the “2014 Option

        Agreement” (JA12 (Complaint ¶¶22-23); JA34). Wickett was awarded another 50

        ten-year Options in December 2016 (the “2016 Options”; the “2016 Option
USCA4 Appeal: 25-1013     Doc: 20        Filed: 03/20/2025   Pg: 8 of 34




        Agreement” (JA12 (Complaint ¶¶ 24-25); JA36-37).

              Over Wickett’s ten years at the Company, the Company skyrocketed in value

        and is now worth over $20 billion (JA8 (Complaint ¶ 7) ($28 billion at current stock

        price). Yet when Wickett attempted to exercise her 2014 Options in September 2024

        before they expired, the Company wrongfully claimed that the consent of the

        “Compensation Committee” (comprised solely of interested Co-Founders and

        Officers Michael Sabel (“Sabel”) and Robert Pender (“Pender”), who collectively

        own over 85% of the Company – an over $17 billion stake) was required.

              Messrs. Sabel and Pender then acted in bad faith and to enrich themselves

        personally in refusing to grant consent and to cause Wickett’s 2014 Options to

        purportedly expire. When Wickett understandably complained about being deprived

        of her Shares after ten productive years at the Company, she was immediately fired

        for it. No reason was given for the refusal to allow Wickett to exercise or the sudden

        termination – because there is no good (or legal) reason. (See generally JA8-11

        (Complaint ¶¶ 8-16)). Understandably, Wickett filed this action to vindicate her

        rights under the 2014 and 2016 stock option agreements.

              Venture Global then moved, inter alia, to compel arbitration solely based on

        a Restrictive Covenant Agreement (the “RCA”; JA66-73), which was not executed

        until on or about June 12, 2017 (defined as the “Effective Date” (JA66)), nearly three

        years after Wickett joined Venture Global, and well after she had been granted the



                                                  2
USCA4 Appeal: 25-1013    Doc: 20         Filed: 03/20/2025    Pg: 9 of 34




        2014 and 2016 Options. Wickett opposed the motion on the grounds that the RCA

        (including the arbitration and delegation provision therein) is unenforceable, and

        also because the limited arbitration provision in the RCA clearly did not cover this

        dispute. Judge Brinkema correctly denied the Company’s motion.

              In particular, the Company’s specified “good and valuable consideration” for

        the RCA, namely “the Company stock options granted to Employee as of the

        Effective Date” (JA66) – i.e., the 2014 Options and the 2016 Options – had been

        awarded to Wickett long before and were previously vesting, and therefore could not

        possibly constitute consideration (JA12 (Complaint ¶¶ 22-25); JA17-18 (Complaint

        ¶ 44)). Venture Global knew it needed to provide Wickett with consideration for the

        RCA to be enforceable, but instead of actually doing so, it pretended to do so by

        listing the Options Wickett already owned as the purported consideration (JA66).

        But it is black-letter law that consideration for a new agreement cannot be legal

        rights a party already has. Wickett did not receive any benefit she did not already

        own, and Venture Global did not suffer any detriment at Wickett’s request, and

        therefore the RCA and the arbitration provision therein are equally unenforceable

        for a lack of consideration under governing Delaware law.

              Further, the arbitration provision in the RCA is limited in that it only pertains

        to claims that “aris[e] under or in connection with this Agreement [the RCA]”

        (JA72). The RCA, as its name indicates, imposes restrictive covenants upon



                                                  3
USCA4 Appeal: 25-1013     Doc: 20         Filed: 03/20/2025    Pg: 10 of 34




        Wickett, such as non-compete, non-solicit and confidentiality restrictions. However,

        these provisions are not at issue in this case. Rather, Wickett’s claims in this action

        relate to the 2014 Options granted to her pursuant to the 2014 Option Agreement

        and the 2016 Options granted to her under the 2016 Option Agreement, both of

        which were governed by a separate 2014 Stock Option Plan, as amended, and none

        of which contain an arbitration provision (see, e.g., JA20-21 (Complaint ¶¶ 51-60)

        and JA34, JA36-37 (Complaint Exs. A & B)). None of Wickett’s claims “aris[e]

        under or in connection with this Agreement [the RCA]”(JA72), and therefore her

        claims in this action do not fall under its arbitration provision.

              For all these reasons, Judge Brinkema correctly denied the Company’s motion

        to compel arbitration. As Wickett equally challenged the enforceability of the RCA

        and the specific arbitration and delegation provisions therein, and also because this

        case involves multiple agreements (some without an arbitration provision), the issue

        of arbitrability was squarely before the District Court, and correctly was not put to

        an arbitrator. See, e.g., Coinbase, Inc. v. Suski, 602 U.S. 143, 151, 152 (2024); see

        also Point I(A), infra).     Judge Brinkema correctly found (i) that the limited

        arbitration provision in the RCA does not cover the scope of this dispute, which

        arises solely out of separate, earlier stock option agreements that do not contain an

        arbitration provision; and (ii) that the RCA (including the arbitration provision) was

        unenforceable for a lack of consideration. It is respectfully submitted that Judge



                                                   4
USCA4 Appeal: 25-1013      Doc: 20       Filed: 03/20/2025   Pg: 11 of 34




        Brinkema’s Order should be affirmed, and this case should proceed in the District

        Court.

                                 STATEMENT OF THE ISSUES

                 I.    Where Wickett equally challenged the enforceability of the RCA and

        the arbitration provision therein, and where Wickett’s claims arise solely out of

        separate stock option agreements that do not contain an arbitration provision,

        whether the District Court was correct to decide the arbitrability question and

        correctly conclude that Wickett’s claims do not fall within the scope of the limited

        RCA arbitration provision, which only relates to claims that “aris[e] under or in

        connection with this Agreement [the RCA]”.

                 II.   Whether the District Court correctly held, under the unique factual

        circumstances of this case, that the Restrictive Covenant Agreement as a whole and

        the arbitration and delegation provisions therein are unenforceable for a lack of

        consideration.

                                     STATEMENT OF THE CASE

        I.       FACTUAL BACKGROUND.

        A.       The Company Awards Wickett The 2014 Options And The 2016 Options.

                 In or about the Summer of 2014, Wickett began discussions with Sabel and

        Pender about the prospects of joining Venture Global (JA12; Complaint ¶ 22).

        Wickett knew Sabel and Pender through her now-husband, who had introduced



                                                  5
USCA4 Appeal: 25-1013     Doc: 20        Filed: 03/20/2025   Pg: 12 of 34




        Sabel and Pender to each other (id.). Sabel and Pender offered Wickett the 2014

        Options, and Wickett began working at the Company in September 2014 (id.). By

        letter dated October 2, 2014, Sabel and Pender confirmed that Wickett was awarded

        the 2014 Options, which began vesting on October 2, 2014 (JA12; Complaint ¶ 23).

        Over the next two years, Wickett worked diligently at the Company as they

        attempted to develop the Company’s initial plant, the Calcasieu Pass Plant in

        Louisiana, so that it would eventually start generating liquified natural gas (“LNG”).

        (JA12; Complaint ¶ 24).

              In late December 2016, Wickett participated in her annual compensation

        meeting with Graham McArthur (“McArthur”), then the Company’s Chief Financial

        Officer (JA12, 36-37; Complaint ¶ 25 and Exhibit B thereto). McArthur informed

        Wickett of her salary for 2017 and that she had been granted the 2016 Options, which

        began vesting on January 1, 2017 (id.).

        B.    In June 2017, The Parties Sign the RCA.

              Approximately six months later, on or about June 12, 2017, the Company

        presented Wickett with the RCA for her signature (JA17; Complaint ¶ 44). No one

        at the Company told Wickett she had to sign it or she would be terminated. Nor did

        anyone tell Wickett that if she signed the RCA she could remain employed by the

        Company. The RCA was presented without any explanation. (JA18; Complaint ¶

        45). The RCA states that the specified “good and valuable consideration” for the



                                                  6
USCA4 Appeal: 25-1013     Doc: 20       Filed: 03/20/2025   Pg: 13 of 34




        RCA is “the Company stock options granted to Employee as of the Effective Date

        [June 12, 2017]” (JA17 (Complaint ¶ 44) and JA66 (RCA p. 1)). However, the only

        Options granted to Wickett as of the Effective Date were the 2014 Options and the

        2016 Options, which had been previously granted to her in or about October 2014

        and December 2016, and had been vesting since October 2014 and January 2017,

        respectively.   Hence, the Options could not possibly constitute consideration.

        (JA17-18; Complaint ¶ 44).

              The RCA further states that it is not a promise of continued employment:

        “Nothing in this Agreement shall create any right to continued employment or in any

        way supersede, undermine or otherwise modify the at-will status of the employment

        relationship between the Company and Employee” (JA72 (RCA §14)). The RCA

        provides that it is governed by Delaware law (JA72 (RCA § 12(a))).

        C.    The Company Refuses To Allow Wickett To Exercise Her Options And
              Fires Her In Retaliation For Complaining About Not Receiving Her
              Shares.

              By September 2024, Venture Global’s stock was worth not less than $62,000

        per share (JA13 (Complaint ¶ 28)). Hence, Wickett’s 2014 Options alone are worth

        not less than $3 million (id.). As the 2014 Options were set to expire in October

        2024, Wickett began taking steps to exercise them (JA13 (Complaint ¶ 29)).

              As more fully set forth in the Complaint, Wickett first began discussing the

        matter with Keith Larson (“Larson”), the Company’s General Counsel (id.). Larson



                                                 7
USCA4 Appeal: 25-1013     Doc: 20        Filed: 03/20/2025   Pg: 14 of 34




        told Wickett that Sabel and Pender wanted her 2014 Options to expire and instead

        would offer to pay her $10,000 per Option (id.). Wickett indicated to Larson that

        this was entirely unfair, as she believed that, after ten years at the Company, she

        should be allowed to exercise her Options and obtain Shares in the Company (id.).

        She further complained that the Options were worth millions of dollars, and that

        $10,000 per Option was a lowball offer depriving her of the fair market value of the

        Shares, which constituted a major portion of her overall compensation (id.).

              Wickett then sent letters to Sabel and Pender attempting to exercise her

        Options and complaining about any refusal to allow her to do so (JA13 (Complaint

        ¶ 30)). For no stated reason whatsoever, Sabel and Pender refused to allow Wickett

        to exercise her Options, purportedly causing them to expire, and then immediately

        had her fired (JA14 (Complaint ¶ 31)). No reason was given for the Company’s

        termination of Wickett’s employment after ten years, but the reason is obvious – she

        was fired for complaining about being deprived of valuable Shares in the Company.

        II.   PROCEDURAL BACKGROUND.

        A.    Wickett Commences This Action Asserting Claims Arising Out Of The
              Company’s Conduct Relating to the 2014 and 2016 Option Agreements.

              Shortly after the Company terminated her, Wickett brought this action in the

        District Court, demanding a jury trial on four causes of action (JA32). First, Wickett

        alleges that Venture Global breached the 2014 and 2016 Option Agreements (Count

        I) by refusing Wickett’s exercise of her Options, insisting that the consent of the

                                                  8
USCA4 Appeal: 25-1013     Doc: 20        Filed: 03/20/2025   Pg: 15 of 34




        Compensation Committee was required. This was a breach because no such consent

        is required under those agreements. The subsequent agreement Venture Global

        relies upon for the purported consent requirement are void for a lack of

        consideration. Therefore, that agreement and all terms therein are unenforceable as

        a matter of law. (JA20-22 (Complaint ¶¶ 50-62)).

              Second, Wickett alleges that, to the extent consent was required for the

        exercise of the Options, the Company breached the implied duty of good faith in

        denying that consent (Count II). Governing law is clear that there is an implied

        covenant of good faith in this Option exercise context, as it involves a future act of

        discretion, and the Company clearly breached that covenant. (JA22-27 (Complaint

        ¶¶ 63-86)). Third, Wickett alleges a claim under Virginia’s wage protection laws

        that Wickett was denied Shares in Venture Global, which constitute “wages” and/or

        compensation for services performed under Virginia law (Count IV) (JA30-31;

        Complaint ¶¶ 101-107)).

              Fourth, Wickett alleges a claim for wrongful termination and retaliation in

        violation of the Virginia Whistleblower statute. The Company fired Wickett for

        complaining about being denied or cheated out of lawful Wages, i.e., the Shares,

        which is a violation of law. (Count III) (JA27-30 (Complaint ¶¶ 87-100)). Venture

        Global moved to compel arbitration of all of Wickett’s claims, and to stay or dismiss

        the action (JA74). Venture Global also moved to dismiss the claims under Federal



                                                  9
USCA4 Appeal: 25-1013     Doc: 20         Filed: 03/20/2025    Pg: 16 of 34




        Rule of Civil Procedure 12(b)(6), which Judge Brinkema granted as to the

        Whistleblower statute claim, but denied as to all other claims.

        B.    Judge Brinkema Correctly Denies The Motion to Compel Arbitration.

              Judge Brinkema correctly denied the Company’s motion to compel arbitration

        in its entirety, on multiple grounds.

              At the outset of her ruling, Judge Brinkema recognized that Wickett’s claims

        arise out of the “first two stock option packages or agreements” that were entered

        into in “2014 and 2016,” observing that “the two seminal documents that are at issue

        in this case are 2014 and 2016” (JA157:17-21). Significantly, neither agreement

        contains an arbitration provision.

              Next, Judge Brinkema recognized that there was an issue as to whether the

        RCA, the only agreement containing an arbitration provision, was unenforceable for

        a lack of consideration (JA158:3-5). After hearing further argument on that point—

        which had been fully briefed the parties—Judge Brinkema stated that her reading of

        the arbitration provision in the RCA was that it did not pertain to the stock options:

        “Also, in my view as I read the document, I’m not sure that it would even apply to

        the issue about the stock options” (JA162:23-25) and “that’s really the biggest

        problem” (JA163:1-3)).

              Wickett’s counsel followed up: “[Y]es, [Wickett’s Complaint] is outside the

        scope [of the arbitration provision]. It’s a very specific arbitration provision, and it



                                                  10
USCA4 Appeal: 25-1013     Doc: 20        Filed: 03/20/2025    Pg: 17 of 34




        only relates to disputes related to this restrictive covenant agreement, and that this

        stock [dispute] is totally different.” Judge Brinkema responded: “I think that is a

        strong argument.” (JA163:4-10).

              Venture Global’s counsel argued that the Court should defer to the delegation

        clause in the arbitration provision in the RCA and let a JAMS arbitrator decide

        arbitrability (JA163:15-25). Judge Brinkema correctly rejected that argument. As

        Wickett challenged the RCA and the arbitration and delegation provisions therein as

        being equally unenforceable for a lack of consideration, and because this dispute

        arises under the earlier, separate Stock Option Agreements that do not contain an

        arbitration   clause, the    issue   of   enforceability   of   the   RCA   and   the

        arbitration/delegation provision in this multiple-agreement context was squarely

        before the District Court. Judge Brinkema correctly ruled: “I don’t buy the

        argument, so I’m going to deny the motion to arbitrate. I find, Number 1, the issue

        about consideration is very, very thin; Number 2, the way I read that document, the

        scope of the arbitration [provision] has to do specifically with the non-compete and

        that sort of stuff, and it doesn’t have anything to do with the stock options. So I’m

        denying the motion” (JA164:12-19).

                                    SUMMARY OF ARGUMENT

              Judge Brinkema correctly denied the motion to compel arbitration. Wickett’s

        claims in this action arise out of earlier 2014 and 2016 Stock Option Agreements



                                                  11
USCA4 Appeal: 25-1013     Doc: 20          Filed: 03/20/2025   Pg: 18 of 34




        that do not contain arbitration clauses. Further, the limited arbitration provision in

        the RCA does not cover this dispute. As Wickett challenged the RCA, and the

        arbitration and delegation provisions therein, as being equally unenforceable for a

        lack of consideration, the issue of enforceability of the RCA and the

        arbitration/delegation provision in this multiple-agreement context was squarely

        before Judge Brinkema at the District Court. The U.S. Supreme Court has held that

        arbitrability questions should be decided by courts, not arbitrators, under these

        circumstances. See, e.g., Coinbase, Inc. v. Suski, 602 U.S. 143, 151, 152 (2024).

        Judge Brinkema correctly found that the limited arbitration provision in the RCA

        does not cover the scope of this dispute, which arises solely out of separate stock

        option agreements. (Point I, infra). Judge Brinkema also correctly found that the

        RCA, including the arbitration provision therein, was unenforceable for a lack of

        consideration (Point II, infra).

               In the alternative, in the event this Court determines that an arbitrator should

        decide arbitrability, Wickett respectfully submits and requests that the District Court

        action be stayed (rather than dismissed) pending arbitration. Each party requests or

        has requested a stay. Further, a stay promotes principles of judicial economy. (Point

        III, infra).




                                                   12
USCA4 Appeal: 25-1013      Doc: 20         Filed: 03/20/2025     Pg: 19 of 34




                                             ARGUMENT

        I.     JUDGE BRINKEMA CORRECTLY RULED THAT THE RCA
               ARBITRATION PROVISION DOES NOT COVER THIS DISPUTE.

               “[W]here a challenge applies ‘equally’ to the whole contract and to an

        arbitration or delegation provision, a court must address that challenge.” Coinbase,

        Inc. v. Suski, 602 U.S. 143, 151 (2024) (quoting Rent-A-Center West, Inc. v. Jackson,

        561 U.S. 63, 71 (2010)). “Again, basic principles of contract and consent require

        that result.   Arbitration and delegation agreements are simply contracts, and,

        normally, if a party says that a contract is invalid, the court must address that

        argument before deciding the merits of the contract dispute. So too here. ‘If a party

        challenges validity . . . of the precise agreement to arbitrate at issue, the federal court

        must consider the challenge before ordering compliance with [that] arbitration

        agreement.’” Id. (emphasis added).

               Indeed, if a plaintiff “specifically challenged the enforceability of the

        delegation provision, we then must decide whether the delegation provision is

        unenforceable upon such grounds as exist at law or in equity.” Gibbs v. Haynes

        Investments, LLC, 967 F.3d 332, 338 (4th Cir. 2020) (internal quotation marks

        omitted). Further,“‘[i]n specifically challenging a delegation clause, a party may

        rely on the same arguments that it employs to contest the enforceability of other

        arbitration agreement provisions. To do so the party must at least reference the

        delegation provision in its opposition to a motion to compel arbitration.’” Gibbs,


                                                    13
USCA4 Appeal: 25-1013     Doc: 20         Filed: 03/20/2025    Pg: 20 of 34




        967 F. 3d at 338 (quoting MacDonald v. CashCall, Inc., 883 F.3d 220, 226-27 (3d

        Cir. 2018); see Johnson v. Continental Finance Company, LLC, 2025 WL 758026,

        *3, *5 (4th Cir. March 11, 2025) (the issue of whether a contract lacks consideration

        is a challenge to a contract’s formation, which “necessarily puts the ‘making’ of any

        arbitration provision within that contract at issue”; “[i]t would put the cart before the

        horse to enforce any provision of the agreement, including the delegation clause,

        before deciding whether the agreement itself was ever formed”; affirming district

        court’s denial of motion to compel arbitration).

              Moreover, “where, as here, the parties have agreed to two contracts – one

        sending arbitrability disputes to arbitration, and the other either explicitly or

        implicitly sending arbitrability disputes to the courts – a court must decide which

        contract governs.     To hold otherwise would be to impermissibly ‘elevate [a

        delegation provision] over other forms of contract.’” Coinbase, 602 U.S. at 152

        (quoting Rent-A-Center, 561 U.S. at 71 (quoting Prima Paint Corp. v. Flood &

        Conklin Mfg. Co., 388 U.S. 395, 404, n.12 (1967)).

              Wickett equally challenged the enforceability of the RCA and the

        arbitration/delegation provision therein (JA17-19 (Complaint ¶¶ 44-48)). Wickett

        also contended that the 2014 and 2016 Option Agreements, which do not contain

        arbitration or delegation provisions (and therefore “implicitly” send arbitrability

        disputes to court), should govern over an arbitration provision in the RCA that does



                                                   14
USCA4 Appeal: 25-1013        Doc: 20     Filed: 03/20/2025   Pg: 21 of 34




        not even remotely cover this dispute (JA19-20 (Complaint ¶ 49)).             Wickett

        specifically relied on above-cited caselaw in her Complaint and opposition brief

        contending that the Court should decide arbitrability (JA19-20 (Complaint ¶¶ 48-

        49); JA135-36), and Judge Brinkema correctly agreed. The Company does not even

        attempt to address Coinbase and Wickett’s prior arguments thereunder in its

        appellate brief. 1

               Judge Brinkema also correctly agreed with Wickett that her claims in this

        action do not “aris[e] under or in connection with this Agreement [the RCA]” (JA72

        (RCA § 12(b)); JA164:12-19; JA136). Judge Brinkema correctly recognized that

        the RCA instead solely imposed restrictions upon Wickett with regard to non-

        compete provisions and the like (JA164:12-19), but her claims in this action do not

        relate to those restrictions: “[T]he way I read that document, the scope of the



        1
          Given that Wickett raised these arguments in the District Court, the Company’s
        reliance on Modern Perfections, LLC v. Bank of America, N.A., 126 F.4th 235 (4th
        Cir. 2025) is misplaced. In Modern, unlike here, the party opposing arbitration failed
        to raise the issue of who has the primary power to decide whether the party agreed
        to arbitrate the merits of the underlying dispute (a “third-order dispute”) or how the
        multiple agreement scenario impacts who decides arbitrability (a “fourth-order
        dispute”), and therefore the Court declined to address those issues. Modern, 126
        F.4th at 239, 240. Here, Wickett squarely raised these issues before Judge Brinkema
        (JA19-20 (Complaint ¶¶ 48-49); JA135-36). Similarly, the other cases relied upon
        by the Company on this point are inapplicable because enforceability was not in
        issue and/or they did not involve a multi-agreement context. See, e.g., Simply
        Wireless, Inc. v. T-Mobile U.S., Inc., 877 F.3d 522, 526 (4th Cir. 2017) (“[f]rom the
        outset, we point out that neither party disputes the validity of the HSN/QVC
        Agreement, which included the arbitration clause”).

                                                 15
USCA4 Appeal: 25-1013     Doc: 20       Filed: 03/20/2025    Pg: 22 of 34




        arbitration [provision] has to do specifically with the non-compete and that sort of

        stuff, and it doesn’t have anything to do with the stock options. So I’m denying the

        motion” (JA164:12-19).

              Indeed, Wickett’s claims relate to the 2014 Options granted to her pursuant to

        the 2014 Option Agreement and the 2016 Options granted to her under the 2016

        Option Agreement, both of which were governed by a separate 2014 Stock Option

        Plan, as amended, and none of which contain an arbitration provision (see e.g., JA20-

        21 (Complaint ¶¶ 51-60); JA34 (Complaint Ex. A) and JA36 (Complaint Ex. B)).2

        Further, Wickett’s wage and wrongful terminations claim relate to the Company’s

        breach of the 2014 and 2016 Option Agreements, are based on Virginia statutory

        law, and do not arise under, nor are they connected with, the RCA (JA27-30

        (Complaint ¶¶ 88-100)).

              Venture Global’s reliance on the recital at p. 1 of the RCA referencing options

        Wickett held as consideration for the RCA fails, as that recital is simply false.

        Wickett already owned and was already vesting in the only Options she possessed

        at the time of the RCA, namely the 2014 Options and the 2016 Options, and hence

        these Options cannot constitute consideration. Indeed, the 2014 and 2016 Option



        2
          The stock option agreements executed by the parties in 2017 and 2018 (JA56-64,
        JA7-8 (Complaint ¶ 5) are also separate agreements covering different subject matter
        and do not contain an arbitration provision, and therefore any claims thereunder are
        similarly outside the scope of the RCA arbitration provision.

                                                 16
USCA4 Appeal: 25-1013     Doc: 20        Filed: 03/20/2025     Pg: 23 of 34




        Agreements existed long before the RCA and govern entirely different subject

        matter.

              Similarly, the Company’s reliance on a provision in the RCA providing for a

        forfeiture of options under certain circumstances also fails, as that provision only

        relates to breaches of the RCA (JA69). Wickett’s claims, of course, do not relate to

        breaches of the RCA; they relate to breaches of the prior and/or separate Stock

        Option Agreements. Indeed, the mere fact that the RCA references options does not

        change the fact that the parties did not agree to arbitrate disputes under the Stock

        Option Agreements. See, e.g., Evraz Stratcor, Inc. v. Kennametal Inc., 2016 WL

        11483716, *4-*5 (W.D. Ark. March 8, 2016) (arbitration clause in “Representation

        Agreement” providing for arbitration for “any controversy or claim arising out of or

        relating to this Agreement or the breach thereof” did not cover claims under a

        separate “Conversion Agreement” without an arbitration provision as “they govern

        different aspects of the parties’ relationship”; although one referenced the other,

        “they do not rely on each other for their essential terms”); Matter of ITT Avis, Inc. v.

        Tuttle, 27 N.Y.2d 571, 573 (1970) (arbitration provision in employment contract did

        not cover employee’s claim that employer breached a stock option agreement by

        failing to allow him to exercise the options, despite the fact that the employment

        contract referenced the stock option agreement and they were executed at the same

        time, when employee’s claim arose solely out of the stock option agreement; “[t]o



                                                  17
USCA4 Appeal: 25-1013     Doc: 20         Filed: 03/20/2025    Pg: 24 of 34




        hold otherwise would, in our opinion, lead the parties into arbitration unwittingly

        through subtlety”) (internal quotation marks omitted).

              Further, although the Company is correct that there is a liberal federal policy

        favoring arbitration agreements, “this federal enthusiasm for arbitration agreements

        is not without bounds. The FAA’s liberal policy in favor of arbitration does not

        imbue arbitration agreements with special powers. Rather, the goal of the FAA was

        ‘to make arbitration agreements as enforceable as other contracts, but not more so.’”

        Salsbery v. Verizon Wireless (VAW), LLC, 2014 WL 3876635, *4 (S.D. W.Va. Aug.

        7, 2014) (emphasis in original) (quoting Prima Paint, 388 U.S. at 404 n.12). “The

        [Supreme] Court has declared that its holdings ‘cannot be divorced from the first

        principle that underscores all of [its] arbitration decisions: Arbitration is strictly a

        matter of consent, and thus is a way to resolve those disputes – but only those

        disputes – that the parties have agreed to submit to arbitration.’” Id. (quoting Granite

        Rock Co. v. Int’l Bhd. Of Teamsters, 561 U.S. 287, 299 (2010)) (emphasis in

        original). “The [Supreme] Court has never held that the FAA’s liberal policy

        ‘overrides the principle that a court may submit to arbitration ‘only those

        disputes…that the parties have agreed to submit.’” (Id. (quoting First Options of

        Chicago, Inc. v. Kaplan, 514 U.S. 938, 943 (1995)).3


        3
          Venture Global’s reliance on Adkins and the other cases cited on this point miss
        the mark. Indeed, Adkins provides that arbitration should only be compelled when
        “a valid arbitration agreement exists and the issues in the case fall within its

                                                  18
USCA4 Appeal: 25-1013     Doc: 20         Filed: 03/20/2025   Pg: 25 of 34




              Wickett’s claims arise out of the subject Stock Option Agreements. The

        Company could have sought to include an arbitration provision in those agreements

        but chose not to, demonstrating the parties’ intent that disputes thereunder are to be

        heard in Court. As none of Wickett’s claims “aris[e] under or in connection with

        this Agreement [the RCA]” (JA72 (RCA §12(b); JA136), her claims in this action

        do not fall under its arbitration provision. Judge Brinkema’s decision should be

        affirmed for this reason alone.

        II.   JUDGE BRINKEMA CORRECTLY RULED THAT THE RCA AND
              ITS ARBITRATION PROVISION ARE UNENFORCEABLE FOR A
              LACK OF CONSIDERATION.

              A.     Legal Standards.

              Whether under the Delaware law cited in the RCA or otherwise, ‘“[i]t is the

        blackest of black-letter law that an enforceable contract requires an offer, acceptance

        and consideration . . . Consideration is ‘a benefit to a promisor or a detriment to a

        promisee pursuant to the promisor’s request’”. Cigna Health and Life Insurance

        Company v. Audax Health Solutions, Inc., 107 A.3d 1082, 1088 (Del. Ch. Ct. 2014)

        (quoting James J. Gory Mech. Contracting, Inc. v. BPG Residential P’rs V, LLC,




        purview.” Adkins v. Labor Ready, Inc., 303 F.3d 496, 500 (4th Cir. 2002). Here,
        Wickett’s claims do not fall within the purview of the arbitration clause in the RCA.
        Nor does that provision “purport[ ] to cover the dispute” (id. at 501) asserted under
        2014 and 2016 Option Agreements, which are earlier agreements covering separate
        subject matter.

                                                  19
USCA4 Appeal: 25-1013     Doc: 20       Filed: 03/20/2025    Pg: 26 of 34




        2011 WL 6935279, *2 (Del. Ch. Dec. 30, 2011).4 In other words, when a party to

        a contract does not receive a benefit, and the other side does not suffer a detriment

        at the counter-party’s request, the contract and the terms thereof are unenforceable.

        See, e.g., Seiden v. Kaneko, 2015 WL 7289338, *6 (Del. Ch. June 10, 2015) (when

        “Defendant fails to identify any benefit [plaintiff] would receive” contract lacks

        consideration) (citing Sabatoro Const. Co. v. Formoso Plastics Corp. USA, 1996

        WL 453460 at *3 (Del. Super. June 10, 1996); Cigna Health, 107 A.3d at 1091

        (because the defendants sought to impose a release obligation on Cigna “post-

        closing, and because nothing new is being provided to Cigna beyond the merger

        consideration to which it became entitled when the Merger was consummated and

        its shares were canceled, I find that there is no consideration for the Release

        Obligation”).

              B.     The RCA Is Unenforceable For A Lack Of Consideration.

              “[W]hen considering a motion to compel arbitration which is opposed on the

        ground that no agreement to arbitrate had been made between the parties, [the court]

        should give to the opposing party the benefit of all reasonable doubts and inferences

        that may arise.” Par-Knit Mills, Inc. v. Stockbridge Fabrics Co., Ltd., 636 F.2d 51,

        4
          See, e.g., 3 Williston on Contracts § 7:5 (4th ed.) (to establish consideration,
        “a detriment undergone by the promisee or a benefit received by the promisor at the
        latter's request is necessary”); Clay v. Chesapeake & Potomac Telephone Co., 184
        F.2d 995, 996 (D.C. 1950) (consideration is either a benefit moving to the promisor
        or a detriment to the promisee).

                                                 20
USCA4 Appeal: 25-1013      Doc: 20        Filed: 03/20/2025     Pg: 27 of 34




        54 (3rd Cir.1980). “In evaluating the Defendants’ Motion [to dismiss in favor of

        arbitration], the court is confine[d] ... to the allegations of the complaint and exhibits

        thereto, which must be accepted as true for purposes of the motion to dismiss, and

        all inferences therefrom should be construed in the non-moving party’s favor.”

        Chemours Company v. DowDuPont Inc., 2020 WL 1527783, *7 (Del. Ch. March

        30, 2020) (internal quotation marks omitted). The Complaint clearly alleges that the

        RCA lacks consideration (RA17-19 (Complaint ¶¶ 44-47)), and Venture Global’s

        arguments for consideration fail.

              First, Venture Global argues that there was consideration because a recital at

        p. 1 of the RCA (JA66) states that it is “[f]or good and valuable consideration,

        including the Company stock options granted to Employee as of the Effective Date

        under the Company’s 2014 Stock Option Plan (that are contingent on Employee’s

        execution of this Agreement), the sufficiency of which Employee expressly

        acknowledges”. This argument fails. A boilerplate recital about consideration being

        provided alone is not sufficient and is overcome or outweighed by “facts suggesting

        that no such consideration was actually given or suggested”. Moscowitz v. Theory

        Ent. LLC, 2020 WL 6304899, *12 (Del Ch. Oct. 28, 2020) and citing Restatement

        (Second) of Contracts § 87 (1981) cmt. C (“but such a recital may ordinarily be

        contradicted by evidence that no such consideration was given or expected”).

              Here, the facts as alleged in the Complaint, which must be taken as true on a



                                                   21
USCA4 Appeal: 25-1013     Doc: 20        Filed: 03/20/2025     Pg: 28 of 34




        motion to compel arbitration, establish that no such consideration was provided at

        time the RCA was signed. (JA17-19 (Complaint ¶¶ 44-47)). Indeed, as set forth

        above, Wickett already owned and was already vesting in the only Options she

        possessed as of the Effective Date, namely the 2014 Options and the 2016 Options.

        As a result, these Options cannot constitute consideration (see, e.g., JA17-18

        (Complaint ¶ 44)). Hence the stated consideration for the RCA – the Options that

        had previously been granted to Wickett and were already vesting – was not

        consideration at all.

              Second, the Company argues that the arbitration provision itself constitutes

        consideration. This argument fails because, by the time of the RCA, Wickett had

        been working at the Company for three years with the right to pursue her claims in

        Court, in a public forum, and with the right to a jury trial. It was the Company that

        suddenly attempted to deprive her of those rights for its own benefit. Being deprived

        of court process, a public forum, a jury trial, and appellate rights is not a benefit to

        Wickett nor a detriment to Venture Global, and in any event is not at Wickett’s

        request. It is self-evident that employers seek to impose arbitration provisions to

        benefit themselves, not their employees. Thus, it is not a detriment to the Company,

        as it is the Company that wanted and insisted upon it. And even if it could be

        considered a detriment to the Company, it was certainly not a detriment pursuant to

        or at Wickett’s request, and for this reason as well cannot constitute consideration



                                                  22
USCA4 Appeal: 25-1013     Doc: 20         Filed: 03/20/2025    Pg: 29 of 34




        under Delaware law. Cigna Health, 107 A.3d 1082, 1088 (“[c]onsideration is a

        benefit to a promisor or a detriment to a promisee pursuant to the promisor’s

        request”) (internal quotation marks omitted).5

              Third, the Company argues that a promise of continued employment was the

        consideration for the RCA. However, as alleged in the Complaint, Wickett was

        never promised continued employment or told she would be fired if she did not sign

        the RCA (JA18 (Complaint ¶ 45)). To the contrary, the RCA expressly states that it

        does not “create any right to continued employment”, providing: “Nothing in this

        Agreement shall create any right to continued employment or in any way supersede,

        undermine or otherwise modify the at-will status of the employment relationship

        between the Company and Employee” (JA18 (Complaint ¶ 45); JA72 (RCA § 14)).

              Indeed, the Company was free to fire Wickett a split-second after she signed

        the RCA. For all these reasons, a promise of continued employment cannot possibly

        5
          Tellingly, none of the cases relied upon by Venture Global on this point relate to a
        scenario where, like here, an arbitration provision was imposed after the employee
        had been working with the employer for years, with a right to proceed in a public
        forum and with a right to a jury trial, with no benefit provided. Rather, they all relate
        to an arbitration provision being agreed to at the outset of the relationship. See, e.g.,
        Sapiro v. VeriSign, 310 F.Supp.2d 208, 211 (D.D.C. 2004) (arbitration provision
        “condition of employment” at the beginning of the relationship); Donofrio v.
        Peninsula Healthcare Servs., LLC, 2022 WL 1054969, *1 (Del. Super. Ct. April 8,
        2022) (consent to arbitration provision condition of admission into long term care
        facility); Bryce v. SP Plus Corp., 741 F.Supp.3d 385, 389 (E.D. Va. 2024)
        (arbitration provision in employment offer); Adkins, 303 F.3d at 500 (arbitration
        provision in job application). Hence, these cases are not relevant to the unique facts
        and circumstances presented here, and are not binding precedent in any event.

                                                   23
USCA4 Appeal: 25-1013     Doc: 20        Filed: 03/20/2025   Pg: 30 of 34




        be consideration under these circumstances. Reiver v. Murdoch & Walsh, P.A., 625

        F. Supp. 998, 1011 (D. Del. 1985) (“[t]here is an inherent difficulty, however, when

        an employer insists both that he possesses an absolute right of discharge with respect

        to [an] at-will employee and that his promise of continued employment constitutes

        consideration for promises obtained from the employee. If the employer retains an

        absolute right of discharge, the promise of continued employment is illusory and,

        therefore, cannot serve as consideration for another’s promise”).

              The Company further argues that the fact that Wickett continued to work at

        the Company after signing the RCA constitutes consideration. This argument fails

        because under black-letter law there must be consideration at the time of contract for

        the contract to be enforceable. Cigna Health, 107 A.3d at 1088.

              None of the cases cited by Venture Global are on point. First of all, none of

        those cases concerned an agreement, like here, that expressly stated that that there

        was absolutely no promise of continued employment, and those cases are

        inapplicable for this reason alone. Further, in those cases, unlike here, the employer

        either told the employee that if the employee did not sign the agreement the

        employee could not work for the company, see Research & Trading Corp. v. Pfuhl,

        1992 WL 345465, *8 (Del. Ch. Ct. Nov. 18, 1992) (offer letter stated employee must

        sign a non-competition agreement to commence employment), or the employer

        offered additional monetary consideration, see Paramount Termite Control Co., Inc.



                                                 24
USCA4 Appeal: 25-1013     Doc: 20        Filed: 03/20/2025   Pg: 31 of 34




        v. Rector, 238 Va. 171, 176 (1989) (employer offered severance pay in return for

        signing non-compete), or the case related to a routine term of employment, such as

        a housing allowance, being minimized, as opposed to relinquishing a fundamental

        right such as a trial by jury that must be expressly agreed-to, see Kauffman v. Int’l

        Bhd. Of Teamsters, 950 A.2d 44, 48 (D.C. 2008). Hence, these cases are inapposite.

                                           *      *     *

              The reality is that the Company knew that it had to provide a benefit to Wickett

        for the RCA and its arbitration provision to be enforceable, as she was a current (at-

        will) employee and the Company was attempting to take away her rights. That is

        why the first paragraph of the RCA states that Wickett was receiving Options, and

        also why the Company offered numerous other employees additional Options in

        return for executing the RCA (JA 17-18 (Complaint ¶ 44); JA66 (Complaint Ex. H)).

        However, the Company did not offer additional Options to Wickett, but instead tried

        to essentially sweep the issue under the rug by citing the consideration it had

        previously provided to Wickett and pretending it was new consideration, hoping no

        one would notice. But it is the blackest of black-letter law that a contract and its

        terms are unenforceable absent consideration. The Company could have provided

        consideration in numerous ways, but chose to provide Wickett with nothing.

        Therefore, there is no consideration for the RCA or the arbitration provision therein,

        and Judge Brinkema’s decision should be affirmed for this reason as well.



                                                 25
USCA4 Appeal: 25-1013     Doc: 20         Filed: 03/20/2025    Pg: 32 of 34




        III.   IN THE ALTERNATIVE, THE DISRICT COURT ACTION SHOULD
               BE STAYED PENDING ARBITRATION.

               “When a federal court finds that a dispute is subject to arbitration, and a party

        has requested a stay of the court proceeding pending arbitration, the court does not

        have discretion to dismiss the suit on the basis that all the claims are subject to

        arbitration.” Smith v. Spizzirri, 601 U.S. 472, 475-76 (2024). Indeed, Section 3 of

        the FAA provides that the court “shall on application of one of the parties stay the

        trial of the action until such arbitration has been had in accordance with the terms of

        the agreement, providing the applicant for the stay is not in default in proceeding

        with such arbitration.” 9 U.S.C. § 3.

               Further, “staying rather than dismissing a suit comports with the supervisory

        role that the FAA envisions for the courts”, including “enforcing subpoenas issued

        by arbitrators to compel testimony or produce evidence, see § 7; and facilitating

        recovery on an arbitral award, see § 9. Keeping the suit on the court’s docket makes

        good sense in light of this potential ongoing role, and it avoids and costs and

        complications that might arise if a party were required to bring a new suit and pay a

        filing fee to invoke the FAA’s procedural protections.” Smith, 601 U.S. at 478.

               Here, Venture Global requested a stay in the District Court (JA74, 85-87, 89)

        and Wickett requests a stay in the alternative herein. Further, had Judge Brinkema

        compelled arbitration, Wickett would have requested a stay at Oral Argument, but

        there was no need to do so because the Judge Brinkema correctly denied the motion

                                                  26
USCA4 Appeal: 25-1013     Doc: 20         Filed: 03/20/2025    Pg: 33 of 34




        to compel. As the parties have requested a stay, a stay should be granted if this Court

        disagrees with the District Court on the arbitration issue. This is especially true here,

        where an arbitrator may decide, like Judge Brinkema did, that Wickett’s claims are

        not arbitrable, and the claims then end up back in the District Court. Further, as set

        forth above, District Court involvement may subsequently be required to provide

        assistance in the arbitration, such as by compelling compliance with subpoenas or

        enforcing an award. Hence, Wickett respectfully submits and requests, in the

        alternative, that this action be stayed pending arbitration.

                                           CONCLUSION

              Judge Brinkema correctly denied Venture Global’s Motion to Compel

        Arbitration. This Court should accordingly affirm the District Court’s Order. In the

        alternative, Wickett respectfully requests that the District Court action be stayed

        pending arbitration.

         Dated: March 20, 2025

                                                     Respectfully submitted,

                                                     SULLIVAN & WORCESTER LLP

                                                     By: /s/ Gerry Silver
                                                         Gerry Silver
                                                     1251 Avenue of the Americas,
                                                        19th Floor
                                                     New York, New York 10020
                                                     Telephone: (212) 660-3096
                                                     Facsimile: (212) 660-3001
                                                     gsilver@sullivanlaw.com

                                                   27
USCA4 Appeal: 25-1013       Doc: 20         Filed: 03/20/2025       Pg: 34 of 34




                                                        Michael T. Dyson
                                                        1666 K Street, NW
                                                        Washington, D.C. 20006
                                                        Telephone: (202) 775-1217
                                                        Facsimile: (202) 775-6875
                                                        mdyson@sullivanlaw.com




                                 CERTIFICATE OF COMPLIANCE

               I certify, pursuant to Federal Rule of Appellate Procedure 32(a)(7)(B), that the attached

        Brief of Plaintiff-Appellee is proportionately spaced, has a typeface of 14 points or more, and

        contains 6,591words.

                                                        /s/ Gerry Silver
                                                        Gerry Silver




                                                      28
